 

 

SEA Bo fle gum. FSH:

10

It

12

134

14
15

16

17

18
19
20
21

_ 22

23
24
25
26
27
28

| Cindy Lee Marsh, and Gadiel Gomez,

Case 2:07-cv-01881-RSL Document1 Filed 11/21/07 Page 1of11

| —_ FILED ___ ENTERED

cw LODGED — RECEIVED
UNITED STATES DISTRICT COURT
| WESTERN DISTRICT OF WASHINGTON wuv 21 2007. uk

SEATTLE, WASHINGTON weer
went O ON

| .
| Gabriel Ruiz-Diaz, Hyun Sook Song,

. Plaintiffs | | “Cc 0 7 ~ 1 8 8 l
Vs. a Complaint Pc 2
United States of America;. ass Action

| U.S. Citizenship and Immigration Services; .
U.S. Department of Homeland Security; == spy py een emprepes cc

US. Department of Homelan +A ARTA

| Emilio Gonzalez, Director of Citizenship and

Immigration Services; | | {AORN il vita i) Ui I lili

Michael Cherthoff, Secretary of

 

 

| Department of Homeland Security | i 07-CV-01881-CMP
Michael Mukasey, Attorney General Np
| _ Defendants 3 |

 

| INTRODUCTION

1. This is a class action lawsuit brought on behalf of certain religious workers

| who are statutorily eligible to file applications for adjustment of status under INA §245,

| | 8 U.S.C. §1255, but whose applications the Citizenship and Immigration Services
(“CIS”) refuses to accept.

| 2. F amily-based applicants for permanent resident status and non-religious

employment-based applicants for permanent resident status can file a petition for an

| immigrant visa and an application for adjustment of status (“AOS”) concurrently.

Concurrent filing provides important benefits to both the applicant, and his or her family

 

members. Once CIS accepts the application for adjustment of status for filing, the

applicant is allowed 'to remain in the United States and obtain work authorization

 

| pending the final adjudication of the petition for an immigrant visa and the application

Gipgs Hovston PAUW
1000 SECOND AVENUE, SUITE 1600

. SEATTLE, WASHINGTON 98104-1094
COMPLAINT - 1 (206) 682-1080
a
 

 

Case 2:07-cv-01881-RSL Document1 Filed 11/21/07 Page 2 of 11

for adjustment of status. Religious workers, however, are denied this benefit.

‘|

 

3. It is the policy and practice of CIS to refuse to accept the application for

3 | adjustment of status from religious workers until the associated petition for an immigrant
4 || visa has been approved. As a result, if there is a delay in the adjudication of the religious
5 | worker’s petition for an immigrant visa and the applicant’s non-immigrant status expires,
| 6 | then that person is required to stop his or her religious work and leave the United States.
7 | Commonly, religious workers initially enter the United States in a non-immigrant |

8 | capacity valid for up to five years, At the end of that time, they may either depart the

9 || U.S. or adjust status to permanent resident status if they are continuing in their religious
10 || occupation. | |

ui. 4. CIS acts unlawfully in refusing to accept the concurrent AOS applications filed

12 | by religious workers, when it accepts such applications from other similarly situated

 

13 | employment-based and family-based applicants for permanent resident status. CIS’s

 

14 || policy and practice constitutes a violation of the Immigration and Nationality Act

15 || (“INA”); the First Amendment and the Equal Protection Guarantee of the United States
16 || Constitution; and the Religious Freedom Restoration Act (“RFRA”).

17 5. Plaintiffs and the class members they represent seek judicial review under the
18 Administrative Procedure Act of CIS’s policy and practice of refusing to accept

19 | applications for adjustment of status, and an order that those applications must be

20.| accepted and adjudicated. |

 

21

2 PARTIES a

23 6. Plaintiff Cindy Lee Marsh is a citizen of South Africa. She is currently in the
24 | United States on a religious worker visa (R-1 visa). ‘She works as the Children’s

25 | Ministry Director for Impact Church International in Gig Harbor, Washington.
26 7. Plaintiff Gabriel Ruiz-Diaz is a citizen of Mexico. He is currently in the United
27 | States on a religious worker visa (R-1 visa). He works as the Pastor of the Church of the

28 || Nazarene in Kent, Washington.

 

Gipss Houston Pauw
1000 SECOND AVENUE, SUITE 1600

. SEATTLE, W. ‘ON 98104-1094
COMPLAINT - 2 | (206) 682-1080
ah
 

 

 

Case 2:07-cv-01881-RSL Document1 Filed 11/21/07 Page 3 of 11

8. Plaintiff Hyun Sook Song is a citizen of South Korea. She is currently in the
United States on a religious worker visa (R-1 visa). She works as the Children’s
| Minister at Zion Castle Church in Federal Way, Washington.

9. Plaintiff Gadiel Gomez is a citizen of Guatemala. He is currently in the United
States on a religious worker visa (R-1 visa). He works as the Pastor of Central
Presbyterian Church in Norwichtown, Pennsylvania.
| 10. Defendant United States of America is responsible for the adjudication of the
| applications for adjustment of status that the Plaintiffs and the class members they
represent have filed or will file. | oe

11. Defendant U.S. Citizenship and Immigration Services is the administrative

agency of the United States that is responsible for the adjudication of the applications for

 

| adjustment of status that the Plaintiffs and the class members they represent have filed or
will file. CIS is a bureau within the Department of Homeland Security.

12. Defendant U.S. Department of Homeland Security is the agency of the United
| States that is ultimately responsible for the enforcement of immigration laws and
granting immigration benefits. CIS is a bureau within the Department of Homeland
Security. ; |

13.. Defendant U.S. Department of Justice is an agency also responsible for
| implementing and enforcing the Immigration and Nationality Act (“INA”). The

 

Executive Office for Immigration review is an agency within the Department of Justice
that has responsibility for applying the INA to persons who appear before immigration
| judges in removal proceedings. | | oe .

14. Defendant Emilio Gonzalez is the Director of CIS,.. He is responsible for the
adjudication of the applications for adjustment of status that the Plaintiffs and the class
members they represent have filed or will file. He is sued in his official capacity.

15. Defendant Michael Chertoff is the Secretary of the Department of Homeland
Security. He is the administrative official ultimately responsible for the adjudication of

 

the applications for adjustment of status that the Plaintiffs and the class members they

Giggs HOUSTON Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT - 3 ; SEATILE, WASHINGTON _s104-1054

 
 

 

Case 2:07-cv-01881-RSL Document1 Filed 11/21/07 Page 4 of 11

1 || represent have filed or will file. He is sued in his official capacity as the Secretary of the
2 | Department of Homeland Security, the executive officer with authority over the

3 | Citizenship and Immigration Services.

4 16. Defendant Michael Mukasey is the Attorney General of the United States. He
5 || is the executive officer with authority over the Executive Office for Immigration Review.

6 | He is sued in his official capacity.

7 / .
8 | JURISDICTION
9 17. This court has jurisdiction pursuant to 28 U.S.C. §1331 (federal question

 

10 jurisdiction); 28 U.S.C. §1651 (the All Writs Act); and 28 U.S.C. §1361 (Gurisdiction
11 | over actions for mandamus), The Administrative Procedures Act, 5 U. S. C. §701 et seq.
1

i]

applies to this lawsuit: .

 

13 |

14 ee VENUE

15 18, Venue properly lies in the Western District of Washington pursuant to 28
| US.C. §1391(e) and 28 U.S.C. §1402(b) because the United States government is a

17 || defendant, and severak:plaintifts reside in this judicial district.

 

16

18 a
19 | FACTUAL BACKGROUND
20 | 19, United States immigration law distinguishes between nonimmigrants, who

21 || have permission to remain in the United States temporarily, see INA §101(a)(15), 8

22 | U.S.C. §1101(a)(15) (list of nonimmigrant categories) and immigrants, who have

23 | permission to reside in the United States permanently, see INA §201(b)(2)(A), 8 U.S.C.
24) §1151(b)2)(A), and INA §203(a) and (b), 8 U.S.C. §1153(a) and (b) (list of immigrant
25 | categories). |

26 20. For purposes of this lawsuit, the relevant non-immigrant category is INA :

27 | §101(a)(15)(R), which establishes a non-immigrant visa category for certain religious

 

28 | workers. Individuals who qualify for an R visa are allowed to remain in the United

Gises HovusTon Pauw :
1000 SECOND AVENUE, SUTFE 1660

: SEA’ WASHINGTON 98104-1094
COMPLAINT - 4 TT" (a06) 682-1080
 

Case 2:07-cv-01881-RSL Document 1 Filed 11/21/07 Page 5 of 11

States.in order to perform religious work for up to five years. INA §101(a)(15)(R)Gi).
Family members (spouse and children) are eligible to remain in the United States as
derivative beneficiaries for the same amount of time. 8 C.F.R. §214.2(r)(8). If approved
for an R-visa, the initial period of authorized stay in the United States is valid for a |
period of up to three years, which can be extended for a period of two additional years, 8
| C.F.R. §214.2(1)(4) and (5). | |

- 21. Immigrant visas are divided into family-based visas, described in INA
§201(6)(2)(A), 8 U.S.C. §1131(b)(2)(A) (“immediate relatives”) and §203(a), 8 U.S.C.
§1153(a) (other family members), and employment-based immigrant visas, described in
INA §203(b), 8 U.S.C. §1153(0).

- 22. The first step in obtaining permanent resident status is for the appropriate |
family member or employer to file an immigrant visa petition to classify the non-citizen
| in the appropriate immigrant category. In the case of family-based immigrant visas, the
U.S. citizen family member files a Petition for Alien Relative (Form 1-130) for the.
benefit of the non- -citizen, In the case of employment-based immigrant visas, for non-
citizens who fall under the first three employment categories (INA §203(b)(1), (2), or
(3)), the U.S, employer files an Immigrant Petition for Alien Worker (Form I-140). If the
| non-citizen falls under the fourth employment category (INA §203(b)(4) (religious
worker), then the employer (which must be a recognized religious organization) files a
Petition for Special Immigrant (Form I-360). The approval of the visa petition
constitutes the agency’s finding that the non-citizen is classified in the appropriate
immigrant category. | 7
t 23. The second step in the immigration process is for the non-citizen to file an
application for permanent resident status (application for adjustment of status) (Form I-
485). If the non-citizen is lawfully in the United States on a non-immigrant visa
category, he or she can adjust status in the United States pursuant to INA §245, 8 U.S.C.
§1255, if the statutory requirements are met. Immediate family members of the primary

 

applicant are considered derivative beneficiaries and can apply to adjust status at the

Gigps Houston PAUW
1000 SECOND AVENUE, SUITE 1600

COMPLAINT - 5 . . : SEATTLE, Wana oa faieei0e4

 
 

 

11
12
13
14
15
16
a
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:07-cv-01881-RSL Document 1 Filed 11/21/07 Page 6 of 11

same time. INA §203(d), 8 U.S. Cc. §1153(d).

24. Certain individuals who would otherwise be eligible for adjustment of status
may be disqualified by operation of INA §245(c), which provides that individuals who
are out of status or who have worked without authorization are not eligible for
adjustment of status. :

25. There is no statutory requirement that before the application for adjustment of

|| status (Form I-485) is filed, an immigrant visa petition (Form I-130, 1-140, or I-360)

must be approved; the statute provides only that an application for adjustment of status
may be filed if the applicant “is eligible to receive an immigrant visa.” INA §245(a)(2),
8 U.S.C. §1255(a)(2). | | i

26. The Immigration Service has taken the position that an immigrant visa
petition and an application for adjustment of status can be filed concurrently if the
applicant is a family-based petitioner or if the applicant falls under one of the first three
employment-based visa categories. In other words, under CIS policies a family-based
applicant can can file an I-130 and 1-485 application concurrently, and a non-religious
worker can file an I-140 and I-485 application concurrently. However, CIS refuses to
accept concurrently filed I-360 and I-485 applications from religious workers. In other _
words, if the applicant is a religious worker, then CIS will refuse to accept the
concurrently filed applications.

27. Plaintiff Cindy Lee Marsh is in the United States on a religious worker visa.
On or about August 28, 2006, Impact Church International filed an I-360 petition for the
benefit of Plaintiff Marsh. This application has not been approved and it is still pending. |
Plaintiff Marsh is eligible to file an application for adjustment of status. On or about
November 8, 2007 Plaintiff Marsh submitted an application for adjustment of status to
CIS. Because of its discriminatory policies, CIS has refused to accept or will refuse to
accept this application for adjustment of status. | |

28. Plaintiff Gabriel Ruiz-Diaz is in the United States on a religious worker visa.
On or about November 16, 2007, the Church of the Nazarene filed an I-360 petition for

GiIpps Houston Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT - 6 | SEATTLE, WASHINGTON, $5104-1094

 

 
 

23

25
26
27

28

2 |

 

Case 2:07-cv-01881-RSL Document 1 ‘Filed 11/21/07 Page 7 of 11

the benefit of Plaintiff Ruiz-Diaz. This application has not been approved and it is still
pending. Plaintiff Ruiz-Diaz is eligible to file an application for adjustment of status.
On or about November 16, 2007 Plaintiff Ruiz-Diaz submitted an application for
adjustment of status to CIS. Because of its discriminatory policies, CIS has refused to
accept or will refuse to accept this application for adjustment of status.

i 29. Plaintiff Hyun Sook Song i 1s in the United States on a religious worker visa. .

On or about May 12, 2006, Zion Castle Church filed an 1-360 petition for the benefit of
Plaintiff Song. This application has not been approved and it is still pending. Plaintiff
Song is eligible to file an application for adjustment of status. On or about July 11, 2007

Plaintiff Song submitted an application for adjustment of status to CIS. Because of its

discriminatory policies, CIS refused to accept this application for adjustment of status

|| and on August 29, 2007 CIS returned the application to Plaintiff Song.
30. Plaintiff Gadiel Gomez is in the United States on a religious worker visa. On

| or about October 6, 2006, Central Presbyterian Church filed an I-360 petition for the
benefit of Plaintiff Gomez. This application has not been approved and it is still

| pending. Plaintiff Gomez is eligible to file an application for adjustment of status.

Plaintiff Gomez desires to file an application for adjustment of status but he is prevented
from doing so because of CIS’s discriminatory policies. Planitiff Gomez would file an -

application for adjustment of status but for CIS’s discriminatory and unlawful policy of

| refusing to accept concurrent filings from religious workers.

31. There is no rational basis for CIS to accept concurrently filed AOS
applications from family-based applicants and from non-religious employment-based
applicants, but to refuse to accept concurrently filed AOS applications filed for the

 

benefit of religious workers,
32. Plaintiffs Cindy Lee Marsh, Gabriel Ruiz-Diaz, Hyun Sook Song, and Gadiel

 

Gomez, and the class members of this lawsuit are statutorily eligible to file applications
for adjustment of status (Form I-485) and by law their applications should be accepted
and adjudicated...

Gripes Houston Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT - 7 . SEATTLE, weenie

 

 
"Case 2:07-cv-01881-RSL Document 1 Filed 11/21/07 Page 8 of 11

 

i | 33. The policy of CIS to refuse to accept the applications for adjustment of status
2 | from Plaintiffs Cindy Lee Marsh, Gabriel Ruiz-Diaz, Hyun Sook Song, and Gadiel

3 | Gomez, and from the class members of this lawsuit, substantially burdens the exercise of
4 | religion by Plaintiffs, class members, and by U.S. citizens and permanent residents of the

5 | religious organizations for whom these individuals work.

6 CLASS ACTION ALLEGATIONS
7 34. Plaintiffs bring this action on behalf of themselves and all other persons
8 | similarly situated pursuant to F.R.C.P. Rules 23(a) and 23(b). The class, as proposed by
9 || plaintiffs, is defined as follows: | | |
10 all individuals (and their derivative family members) currently in the United
States who are beneficiaries of a Petition for Special Immigrant (Religious
ll - Worker) (Form I-360) that has been filed or will be filed, and who would be
eligible to file an Application for Adjustment of Status (Form I-485) but for
12 _ CIS’s policy codified at 8 C.F.R. §2 >-Afa2n (B) that the immigrant visa
petition (Form I-360) must be approved efore the application for
13 _ adjustment of status can be filed. |
14 | 35. The requirements of Rules 23(a) and 23(b)(2) are met in that the class is so

15 || numerous that joinder of all members is impracticable (plaintiffs estimate that there are
16 }} at least between 500 and 1,000 individuals in the defined class); there are questions of
17 | Jaw and fact common to the class (whether CIS’s policy codified at 8 C.F.R.

18 || §245.2(a)(2)()(B) is lawful and constitutional); the claims of the representative parties
19 || are typical of the claims of the class; the representative parties will fairly and adequately
20 || represent the interests of the class in that their claims are typical of the claims of the

21 | class and they are represented by pro bono counsel with extensive expertise in class |
22 || action litigation regarding the rights of immigrants; and the party opposing the class has
23 || acted on grounds generally applicable to the class, thereby making appropriate final

24 || injunctive relief with respect to the class as a whole.

25 IRREPARABLE INJURY

26 36. Plaintiffs, members of the class, and U.S. citizens and permanent residents

27 |) who employ, worship with and associate with class members have suffered and will

 

28 | suffer irreparable harm because of the challenged policies and practices of the

Gings Houston Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT -8 . | SEATTLE, WASHINGTON, 8104-1004

 

 
 

 

2
3
4
5
6
7
8
9

Case 2:07-cv-01881-RSL Document1 Filed 11/21/07 Page 9 of 11

1 | Defendants as described throughout this complaint.

CAUSES OF ACTION
| 37. The decision of CIS to refuse to accept applications for adjustment of status

from Plaintiffs and class members violates the Immigration and Nationality Act, INA

| §245(a), (c) and (k), 8 U.S.C, §1255(a), (c) and (k), and the Due Process Clause of the

United States Constitution.
38. Plaintiffs and class members of this lawsuit are statutorily eligible under INA
§245, 8 U.S.C. §1255, to file applications for adjustment of status. CIS’s refusal.to

10 | accept the applications for adjustment of status and adjudicate those applications

11

13
14
15
16
\7

19
20
21
22
23
24
25
26

28

|

18 | violates the Equal Protection Guarantee of the United States Constitution.

constitutes a violation of the Immi gration and Nationality Act and.a violation of the Due

12 | Process Clause of the United States Constitution.

39, CIS’s policy of refusing to accept concurrently filed I-360 and I-485

| applications for the benefit of religious workers, when it accepts concurrently filed I-130
and J-485 applications for the benefit of family members and also accepts concurrently
filed I-140 and I-485 applications for the benefit of non-religious workers, constitutes

unlawful discrimination against religious organizations and religious workers, and

40, CIS’s policy of refusing to accept concurrently filed I-360 and I-485 .
applications for the benefit of religious workers, when it accepts concurrently filed I-130
| and 1-485 applications for the benefit of family members and also accepts concurrently
filed I-140 and J-485 applications for the benefit of non-religious workers, constitutes
unlawful discrimination against religious organizations and religious workers, and

violates the Religious Freedom Restoration Act.

41. The refusal of CIS to grant employment authorization to Plaintiffs and class |

members who would be eligible to file applications for adjustment of status, but for

27 | CIS’s policy of not accepting concurrently filed petitions for immigrant visas and

 

applications for adjustment of status, violates the governing regulations and constitutes

Gipes Houston Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT -g SEATTLE, WSN CTON 98104-1094

 

 

 
 

 

NO

2)
22
23
/ 24

26
27

' 28

|| violates RFRA and the First Amendment and the Equal Protection Guarantee of the

it
25

Case 2:07-cv-01881-RSL Document 1 Filed 11/21/07 Page 10 of 11.

unlawful discrimination against religious organizations and religious workers, and also

United States Constitution,

| REQUEST FOR RELIEF
WHEREFORE, Plaintiffs request that this Court grant the following relief:

| (1) Accept jurisdiction over the claims presented in this lawsuit;

(2) Declare that Plaintiffs and class members are statutorily eligible to file
applications for adjustment of status, and that the I-485 applications they have filed shall
be deemed to have been filed on the date that such applications are submitted to CIS;

(3) Deciare that CIS’s refusal to accept concurrently filed petitions for religious

 

workers (Form I-360) and applications for adjustment of status (Form 1-485) violates the

| Equal Protection Guarantee of the United States Constitution and violates the Religious

Freedom Restoration Act;

| (4) Declare that, for purposes of INA §245(c), 8 U.S.C. §1255(c) and INA
§245(k), 8 U.S.C. §1225(k), Plaintiffs and class members who have filed or will

concurrently file a Petition for Immigrant Visa (Form I-360) and Application for

| Adjustment of Status (Form 1-485) do not thereafter accrue time in which they have

failed to maintain continuous lawful status, engaged in unauthorized employment, or

| otherwise violated the terms and conditions of their immigration status, and that no such

|| period of time shall begin except in accordance with the orders of this Court;

(5) Declare that, for purposes of INA §212(a)(9)(B), 8 U.S.C. §1182(a)(9)(B),
Plaintiffs and class members who have filed or will concurrently file a Petition for
Immigrant Visa (Form 1-360) and Application for Adjustment of Status (Form 1-485) do
not thereafter accrue “unlawful presence”, and that “anlawful presence” shall not begin

to accrue except in accordance with the orders of this Court;

 

| (6) Declare that Plaintiffs and class members who have filed or will concurrently

Gripes Houston Pauw
1000 SECOND AVENUE, SUITE 1600

COMPLAINT - 106 . SEATTLE, WasHINGTON, 96104-1094

 
 

Case 2:07-cv-01881:-RSL Document1 Filed 11/21/07 Page 11 of 11

1 || file a Petition for Immigrant Visa (Form I-360) and Application for Adjustment of Status

 

 

 

 

 

2 } (Form I-485) are eligibie for employment authorization pursuant to 8 C.F.R.
3 | §274a. 12(c)(9), and order CIS to accept and adjudicate such applications for employment
4 | authorization (Form I-765) in the same manner that such applications filed by other
5 }| family-based and employment-based applicants are adjudicated;
6 (7) Grant an award of attorneys’ fees and costs;
7H (8) Grant such other relief as may be just and reasonable.
foo _
9 ‘Dated this 2! day of tf. ort HA _, 2007.
10 .
| |
" bur Re
12 Robert Pauw
| Robert Gibbs
13 Mari Matsumoto
GIBBS HOUSTON PAUW
14 - Attorney for Plaintiffs
18 | |
16 |
17 :
18 |
i9 |
20
21
22 | :
23
24
2s
26
27 |
28
Gisbs HovsTON PAUw
. 1000 SECOND AVENUE, SUITE 1600
COMPLAINT - 11 SEATTLE, WASHINGTON 98104-1094

 

Ne
